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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust                 Court File No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:
                                                                   ORDER
Residential Funding Company, LLC v.
Gateway Bank F.S.B., No. 13-cv-3518


       Pursuant to the parties’ Stipulation of Dismissal with Prejudice [Doc. No. 1803 in

13-cv-3451(SRN/HB)], IT IS HEREBY ORDERED that pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), case No. 13-cv-3518 is hereby dismissed with prejudice

and without attorneys’ fees, costs and expenses to any of the parties to this action.


DATED: September 26, 2016
                                           s/Susan Richard Nelson
                                           SUSAN RICHARD NELSON
                                           United States District Judge
